Case 2:05-cr-20050-SH|\/| Document 36 Filed 08/22/05 Page 1 of 2 Page|D 40

Fll.ED BY ___“__ no
IN THE UNITED STATES DISTRICT COURT '

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UNITED STATES OF AMERICA, )
)
Plaintiff, )
)

vs. ) CR. NO. 05-20050-Ma
)
LANDO TATE, )
)
Defendant. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a change of plea hearing on July 29,
2005. Defense counsel requested a continuance in order to allow
for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 29, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 36 in
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Honorable Samuel Mays
US DISTRICT COURT

